

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-05,192-05






IN RE DONALD RAY ROBINSON, Relator






ON APPLICATION FOR A WRIT OF MANDAMUS

IN THE 208TH DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that in January 2013, he filed an application for a writ
of habeas corpus in the 208th District Court in Harris County, that more than 35 days have elapsed,
and that the application has not yet been forwarded to this Court.

	In these circumstances, additional facts are needed.  Respondent, the District Clerk of Harris
County, is ordered to file a response, which may be made by submitting the record on such habeas
corpus application, submitting a copy of a timely filed order designating issues to be investigated
(see McCree v. Hampton, 824 S.W.2d 578, 579 (Tex. Crim. App. 1992)), or stating that Relator has
not filed an application for a writ of habeas corpus in Harris County.  Should the response include
an order designating issues, proof of the date the district attorney's office was served with the habeas
application shall also be submitted with the response.  This application for leave to file a writ of
mandamus shall be held in abeyance until Respondent has submitted the appropriate response.  Such
response shall be submitted within 30 days of the date of this order.



Filed: May 15, 2013

Do not publish	


